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 1                                                                   The Honorable Benjamin H. Settle
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA
10   THE GEO GROUP, INC.,                                    NO. 3:23-cv-05626-BHS
11                             Plaintiff,                    SECOND DECLARATION OF
                                                             WENDY YOMIKO “MIKO”
12          v.                                               NANTO
13   JAY R. INSLEE, in his official capacity as
     Governor of the State of Washington;
14   ROBERT W. FERGUSON, in his official
     capacity as Attorney General of the State of
15   Washington,
16                             Defendants.
17

18           I, WENDY YOMIKO NANTO, hereby declare the following:

19           1.      I am over the age of 18, competent to testify as to the matters herein, and make this

20   declaration based on my personal knowledge. My legal name is Wendy Yomiko Nanto but I use

21   the name Miko in my work.

22           2.      I am the Public Engagement Manger for the state of Washington Department of

23   Health (DOH or the Department) Office of the Assistant Secretary (OAS), which is part of

24   DOH’s Environmental Public Health Program, where I have worked since 2020. I have a

25   Master’s Degree in Public Administration from The Evergreen State College.

26           3.      I work with others to implement House Bill 1470, which sets minimum standards


        SECOND DECLARATION OF                            1                ATTORNEY GENERAL OF WASHINGTON
                                                                                1125 Washington Street SE
        MIKO NANTO                                                                   PO Box 40100
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                                                                                     (360) 753-6200
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 1   for private detention facilities, and supervise the team that will be taking complaints or concerns
 2   from the public or any persons detained at a private detention facility in Washington State. I am
 3   responsible for planning and implementing the complaint resolution team, determining processes
 4   for complaints, assisting with rulemaking, seeking out opportunities for collaboration, and
 5   assisting with the process for issuing penalties if non-compliance is found as DOH begins its
 6   work enforcing the law. DOH has hired enforcement staff and is in the very early stages of the
 7   rulemaking process.
 8          4.      HB 1470 emphasizes transparency with complaint findings. This will eventually
 9   include posting complaint data trends and inspection results on a DOH website accessible to the
10   public. HB 1470 has been codified as RCW 70.395. It requires the Department to conduct routine
11   unannounced inspections and to investigate complaints at private detention facilities; the Northwest
12   ICE Processing Center is such a facility operated by The Geo Group, Inc.
13          5.      As part of my work to implement HB 1470 and RCW 70.395, I have received
14   complaints from detainees at the Northwest ICE Processing Center.
15          6.      I have received 213 complaints from detainees inside the Northwest ICE
16   Processing Center from April 2023 through the last week of November 2023. The complaints
17   are generally about lack of attention to medical needs, contaminated food, insufficient food, dirty
18   clothes and bedding, mistreatment of detainees, and hunger strikes.
19          7.      Detainees have complained about lack of attention to medical needs. Medical
20   concerns reported include stroke, paralysis, heart conditions, internal bleeding, and asthma;
21   detainees say these complaints were not addressed by The GEO Group, Inc. One detainee asked
22   to be taken to the hospital, but was refused.
23          8.      Detainees have complained that the food provided to them have contained foreign
24   objects including burned plastic, metal string, rope, and splinters. The food is of low-quality and
25   is typically soy-based meat substitutes made into tacos and served over pasta. A detainee on a
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 1   medically-prescribed diet to include fruits and vegetables was refused such a diet. Detainees
 2   report the food tastes bad, smells bad, and they do not receive enough to eat.
 3          9.      Detainees have complained they are unable to care for basic personal hygiene
 4   needs. They report their clothing, sheets, and blankets are rarely changed or laundered, and when
 5   laundered, are returned wet and dirtier than before. Clothing is not replaced; detainees have one
 6   change of clothes. Sheets caused itching. A detainee with mental health issues had soiled their
 7   clothing but was refused clean clothing by one of the guards.
 8          10.     Detainees have complained the facility is unsanitary; bathrooms are rarely
 9   cleaned, floors go unswept, and the facility smells like a dirty bathroom.
10          11.     Detainees have also reported that solitary confinement is misused and they are
11   being retaliated against by facility guards. A detainee was held in the medical unit in isolation
12   for two weeks as punishment for failing to answer questions from the guards. Detainees have
13   also reported guards retaliate against those who complain about conditions by making loud
14   noises at night so that detainees cannot sleep.
15          12.     Due to the above-mentioned allegations of health and safety violations from the
16   people detained at the Northwest ICE Processing Center, I have attempted to enter the facility
17   on two separate occasions to conduct investigations as the Department is required to do by
18   RCW 70.395.
19          13.     On November 14, 2023, I went to the facility with my co-worker Soleil Muñiz.
20   We arrived at the front desk at 10:22 a.m. There was confusion at first as the receptionist thought
21   we were the Tacoma-Pierce County Health Department and they started to process us to enter
22   until I clarified we were with the Washington State Department of Health and not there as the
23   health department for the kitchen. They were unaware of HB 1470 and did not seem to know
24   anything about DOH coming to enter the facility based upon complaints.
25          14.     The front desk staff person then called a few people and a person named
26   Mr. Scott came down to the front desk and asked who we were and what we needed. I


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 1   informed him we were at the facility due to the passing of HB 1470, which allows DOH to
 2   conduct investigations and inspections regarding health and safety complaints. He then left. He
 3   came back to tell us due to active litigation we were not allowed to enter. I then asked if he was
 4   refusing entry and he agreed. We thanked him and the front desk staff and promptly left the
 5   building. I checked the time and it was 10:33 a.m.
 6           15.     The second attempted entry was November 27, 2023. Lauren Jenks, Soleil Muñiz
 7   and I all went to the Northwest ICE Processing Center arriving around 10:24 a.m. A different
 8   guard greeted us and again mistook us for the Tacoma-Pierce County Health Department, so I
 9   clarified that we were with the Washington State Department of Health and there to investigate
10   complaints. We asked to speak with Mr. Scott. He came and we all introduced ourselves, and
11   Lauren provided her business card. He asked what our visit was regarding, and I said to
12   investigate complaints and he asked what kind/type of complaints we received. I replied that
13   laundry services and health care were some of the topics. He then said they were not used to
14   DOH coming to their facility and Soleil discussed the passing of HB 1470 and Mr. Scott said he
15   needed to speak with the ICE representatives.
16           16.     Mr. Scott returned at 10:41 a.m. and informed us we were being denied entry due
17   to his discussion with the ICE representatives. Lauren requested his business card, which he
18   provided, and we thanked him and promptly left.
19           17.     Throughout the encounter I was smiling. When Mr. Scott asked what the nature
20   of our visit was, and I let him know why we were there, there was with no aggressive body
21   language at all on my part. I was very conscious of that because I did not want to seem
22   threatening.
23           18.     We have not been able to enter the Northwest ICE Processing Center to
24   investigate the complaints about violations of RCW 70.395 we have received from detainees
25   inside the facility.
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 1          19.     I believe that even if we return again we will not be permitted to enter the facility
 2   to investigate complaints.
 3          I declare under the penalty of perjury under the laws of the United States and the State of
 4   Washington that the foregoing it true and correct.
 5          SIGNED this 1st day of December 2023, at Tumwater, Washington.
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                                                   MIKO NANTO
10                                                 Public Engagement Manager
                                                   Washington State Department of Health
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 1                                     CERTIFICATE OF SERVICE
 2          I hereby declare that on this day I caused the foregoing document to be electronically
 3   filed with the Clerk of the Court using the Court’s CM/ECF System, which will serve a copy of
 4   this document upon all counsel of record.
 5          DATED this 4th day of December 2023, at Olympia, Washington.
 6
                                                   s/ Kelsi Zweifel
 7                                                Kelsi Zweifel
                                                    Confidential Secretary
 8                                                1125 Washington Street SE
                                                  PO Box 40100
 9                                                Olympia, WA 98504-0100
                                                  (360) 753-4111
10                                                Kelsi.Zweifel@atg.wa.gov
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